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                                UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA


BLAIR IMANI, ET AL.                                                             CIVIL ACTION

VERSUS
                                                                                NO. 17-439-JWD-EWD
CITY OF BATON
ROUGE, ET AL.

                               SETTLEMENT CONFERENCE ORDER

        At the request of all parties, IT IS ORDERED that the settlement conference has been

reset for August 9, 2021 at 1:30 p.m. in chambers, which is located at 777 Florida St., Room 260,

Baton Rouge, Louisiana.

        The settlement conference will begin with a brief statement by Judge Wilder-Doomes.1

Thereafter, the parties will be separated, and Judge Wilder-Doomes will facilitate the negotiations

between the parties.

        The following is provided to ensure that the necessary parties are present for the

conference, to assist the Court in an objective appraisal and evaluation of the lawsuit, and to

facilitate settlement of this matter in the most efficient manner.

A.      PERSONS ATTENDING THE CONFERENCE

        In addition to counsel who will try the case,2 a person with full settlement authority must

be present for each party at the conference. This requirement contemplates the presence of your

client or, if a corporate entity, an authorized representative of your client, who has full and final

settlement authority. The purpose of this requirement is to have representatives present who can



1
 Judge Wilder-Doomes does not generally permit opening statements by the parties during the joint session.
2
 This requires the attorney who is designated as the lead attorney, pursuant to Local Civil Rule 11(b) to attend the
conference unless permission is obtained from the Court for other counsel to attend.
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settle the case during the course of the conference without consulting a superior. Upon proper

application to the Court and under extenuating circumstances,2 a party may be granted permission

to proceed with a representative with limited authority, provided he/she has direct communication

with a representative with full authority throughout the conference, even if the settlement

conference lasts through lunch or after working hours. In addition to setting forth the extenuating

circumstances warranting participation of a representative with only limited authority in person at

the conference, the application shall state that the applicant has notified all other counsel of record

and state whether they have any objection. Such application must be made at least 14 days before

the scheduled date of the settlement conference. Any other persons deemed necessary to negotiate

a settlement may also attend. Counsel of record will be responsible for timely advising any

involved non-party (i.e., insurance company), of the requirements of this Order.

B.         CONFIDENTIAL STATEMENTS

           The parties shall submit confidential settlement position papers by noon 7 days prior to

the conference to the judge’s chambers either via facsimile transmission to (225) 389-3585 or

hand delivery. The statement shall not exceed five pages and must contain the following:

           (a)      Persons Attending: The name and title, if applicable, of the client or authorized

                    representative who will be attending the conference with trial counsel.

           (b)      Statement of your Case: The position paper should set forth a brief statement of

                    your claim or defense. It should also contain a statement of the liability issues

                    present, including a description of the strongest and weakest points of your case,

                    both legal and factual.




2   The purchase of an airplane ticket is not an extenuating circumstance.
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       (c)     Quantum: A brief statement of your position on quantum, including any injuries

               sustained. When applicable, describe any surgeries, current medical status, and any

               other relevant legal or factual issues.

       A concluding section should contain suggestions for a satisfactory resolution of the claim.

Please do not be bound by monetary solutions, but rather consider all possible alternatives to

reaching a satisfactory resolution.     Also, please keep in mind that these submissions are

confidential, will not be exchanged, are not binding, and that posturing is inappropriate and only

serves to handicap the process. The Magistrate Judge serves as a neutral facilitator in this process;

thus it serves no purpose for either party to attempt to convince the Magistrate Judge of his

position.

C.     ATTACHMENTS

       Copies of the following documents may be attached to the confidential settlement position

paper if they exist and counsel believe they are relevant:

       (a)     Major relevant medical reports concerning plaintiff’s medical condition (if
               applicable);

       (b)     Economic loss reports;

       (c)     Non-medical expert reports; or

       (d)     Any other documents which counsel believe may be of benefit to the Court in
               evaluating the case.

D.     EXCHANGE OF SETTLEMENT OFFERS

       Settlement conferences are often unproductive unless the parties have exchanged demands

and offers before the conference and made a serious effort to settle the case on their own. Before

arriving at the settlement conference the parties are to negotiate and make a good faith effort

to settle the case without the involvement of the Court. A specific settlement offer, in writing,
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must be submitted by the plaintiff to the defendant at least 21 days prior to the settlement

conference, with a brief explanation of the basis for the demand. If unacceptable to the

defendant, a specific counteroffer, in writing, must be submitted by the defendant to the

plaintiff at least 14 days prior to the settlement conference, with a brief explanation of the

basis for the counteroffer. If settlement is not achieved, plaintiff’s counsel shall deliver or fax

copies of all letters reflecting offers and demands to Judge Wilder-Doomes no later than 3 days

before the settlement conference.

E.       CONFIDENTIALITY

         The contents of the statements and all communications made in connection with the

settlement conference are confidential and will not be disclosed to non-parties without the express

permission of the communicating party or order of a court of competent jurisdiction.3 The

statements and any other documents submitted for the settlement conference will be maintained in

chambers and will be destroyed after the conference.

         Failure to timely comply with all requirements of this Order may result in

cancellation of the settlement conference and/or sanctions at the Court’s discretion.

         Signed in Baton Rouge, Louisiana, on October 27, 2020.


                                                      S
                                                     ERIN WILDER-DOOMES
                                                     UNITED STATES MAGISTRATE JUDGE




3
  As Judge Wilder-Doomes will explain in the opening session, communications during the conference are not
confidential as between the parties unless a party specifically requests confidentiality regarding the communication.
